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 9        IN THE UNITED STATES DISTRICT COURT
10      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                            Case No. Misc. 23-22 AB (MRWx)
13   WOLFIRE GAMES, et al.,
                       Plaintiffs,          ORDER TRANSFERRING
14                                          ACTION TO WESTERN DISTRICT
15                v.                        OF WASHINGTON

16   VALVE CORP.,                           WDWA No. CV 2:21-563 JCC
17                     Defendant.
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19
           Pursuant to Federal Rule of Civil Procedure 45(f) and based on the
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     consent of the parties, the Court transfers this subpoena quashal action to
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     the Western District of Washington, the site of the underlying civil action
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     in which the subpoena was issued.
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                                         ***
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           1.    The Washington action is a long-running antitrust action
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     against a video game company. In connection with that civil case, the
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     Defendant Valve served a Rule 45 subpoena on a third party, Nexon
27
     America, a video game creator that is headquartered in the Central
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 1   District of California. The subpoena required Nexon to produce records
 2   regarding its business operations and financial performance.
 3         2.     In February 2023, Nexon commenced this action in the Central
 4   District to quash the subpoena. (Docket # 1.) Magistrate Judge Wilner
 5   contacted District Judge Coughenour (presiding over the underlying
 6   Washington action) to inform him of the pending action in Los Angeles.
 7   Judge Wilner also set the matter for a preliminary status conference with
 8   the parties. (Docket # 5.)
 9         3.     At the parties’ request, the Court put the status conference
10   over to allow the lawyers to negotiate the terms of compliance with the
11   subpoena. (Docket # 9, 13.) However, by mid-April, the matter was not
12   resolved. As a result, Judge Wilner conducted a hearing regarding the
13   matter on April 24.
14         4.     At the April 24 hearing, Nexon and Valve consented to transfer
15   this action to the Western District of Washington for Judge Coughenour’s
16   consideration. Fed. R. Civ. P. 45(f). Additionally, because Nexon is
17   currently under a similar subpoena issued by another party in the
18   Washington litigation, Nexon indicated that it may pursue a second
19   quashal motion in that district in the near future.
20                                        ***
21         5.     Rule 45 states that a motion to quash or to compel compliance
22   with a subpoena to a non-party may be considered in “the district where
23   compliance is required.” Fed. R. Civ. P. 45(d)(2)(B)(ii). However, Rule 45(f)
24   permits the transfer of such a motion “if the person subject to the subpoena
25   consents.”
26         6.     In the present matter, both Nexon (the subpoenaed local party)
27   and Valve (the subpoena-issuing party) consented in open court to transfer
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 1   the quashal action to Judge Coughenour in Seattle. Given Judge
 2   Coughenour’s familiarity with the action, the existence of a parallel
 3   subpoena to Nexon, and other ongoing discovery issues in the antitrust
 4   litigation, transfer of the Los Angeles action to Seattle is appropriate.
 5         7.    The Court therefore directs the Clerk to transfer this action to
 6   Judge Coughenour in the Western District of Washington for further
 7   proceedings pursuant to Rule 45(f).
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 9         IT IS SO ORDERED.
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12   Dated: April 25, 2023                 _______________________________
                                           HON. ANDRĖ BIROTTE JR.
13
                                           UNITED STATES DISTRICT JUDGE
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     Presented by:
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     ____________________________________
18   HON. MICHAEL R. WILNER
     UNITED STATES MAGISTRATE JUDGE
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